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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 CORDEL STEPHEN SMITH,

                             Plaintiff,
                                                      25 Civ. 72 (KPF) (JW)
                      -v.-
                                                             ORDER
 COMMISSIONER OF SOCIAL
 SECURITY,

                             Defendant.

KATHERINE POLK FAILLA, District Judge:

          By Order today, the Court is referring this case to Magistrate Judge

Jennifer Willis for a report and recommendation on any motion for judgment

on the pleadings. To conserve resources, to promote judicial efficiency, and in

an effort to achieve a faster disposition of this matter, it is hereby ORDERED

that the parties must discuss whether they are willing to consent, under 28

U.S.C. § 636(c), to conducting all further proceedings before Magistrate Judge

Willis.

          If both parties consent to proceed before the Magistrate Judge, counsel

for Defendant must, within two weeks of the date of this Order, either mail

or email to Failla_NYSDChambers@nysd.uscourts.gov a fully executed Notice,

Consent, and Reference of a Civil Action to a Magistrate Judge form, a copy of

which is attached to this Order (and also available at

https://nysd.uscourts.gov/forms/consent-proceed-us-magistrate-judge). If

the Court approves that form, all further proceedings will then be conducted

before Magistrate Judge Willis rather than before the undersigned.
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      If either party does not consent to conducting all further proceedings

before Magistrate Judge Willis, the parties must file a joint letter, within two

weeks of the date of this Order advising the Court that the parties do not

consent, but without disclosing the identity of the party or parties who do

not consent. There will be no adverse consequences if the parties do not

consent to proceed before the Magistrate Judge.

      SO ORDERED.

Dated: January 7, 2025
       New York, New York

                                               KATHERINE POLK FAILLA
                                              United States District Judge




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